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07
                                UNITED STATES DISTRICT COURT
08                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
09

10 UNITED STATES OF AMERICA,              )
                                          )
11               Plaintiff,               )            Case No. CR08-336-JCC
                                          )
12         v.                             )
                                          )
13   TON CHI DUONG,                       )            DETENTION ORDER
                                          )
14               Defendant.               )
     ____________________________________ )
15

16 Offense charged:

17          COUNT 1        :       MANUFACTURE OF MARIJUANA in violation of 21 U.S.C.
                                   §§ 841(a)(1), and 841(b)(1)(B), and 18 U.S.C. § 2
18 Bond Modification Hearing:

19          On March 19, 2009, defendant waived his right to a detention hearing and stipulated

20 to detention. He previously pleaded guilty to the offense changed on March 10, 2009 and

21 wished to self-surrender. The Court, based upon defendant’s stipulation and factual findings,

22 and statement of reasons for detention hereafter set forth, finds the following:

23 FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

24          Defendant has self-surrendered to begin serving his expected sentence.

25          IT IS THEREFORE ORDERED:

26          (1)     Defendant shall be detained pending trial and committed to the custody of the


     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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01               Attorney General for confinement in a correctional facility separate, to the

02               extent practicable, from persons awaiting or serving sentences or being held in

03               custody pending appeal;

04         (2)   Defendant shall be afforded reasonable opportunity for private consultation

05               with counsel;

06         (3)   On order of a court of the United States or on request of an attorney for the

07               government, the person in charge of the corrections facility in which

08               defendant is confined shall deliver the defendant to a United States Marshal

09               for the purpose of an appearance in connection with a court proceeding; and

10         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to

11               counsel for the defendant, to the United States Marshal, and to the United

12               States Pretrial Services Officer.

13         DATED this 20th day of March, 2009.

14

15                                                     A
                                                       JAMES P. DONOHUE
16                                                     United States Magistrate Judge
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     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
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